        Case 3:18-cv-01062-CSH Document 1 Filed 06/22/18 Page 1 of 8




                            UNll"[:l] S;TATES DISTRICT       COLTRT
                                DIIJTRICT OF CONNECTICUT

NOIiIMAN        CLEMENIT                            :    Ciase No.



MICIIAEL BEAUTON.
an0
ERIC PE:SINO
MAIiIK SALVATI
THE: Cll'Y OF NEV/         HAVEN                         JLJNE 22!.,2018
lndi'vidually

                                          COM PLAINT

PARTIES

      '1. NORMAN CLEMENT' is a resident of Connecticut residinc ?t gTlz State

            Street in the Citv of New l-laven   .




      ',2. DEFENDANT MICHI\EL I3EAUTON is a citizen of Connec:icut whose,

            address is 149 Prospect lit. Bridgepoft, Cl'06604 and wl'ro is emplorled

            as an officer by the ,ll);onnr:cticut State Police. Defendant uras acting underr

            color of statc' law wl'len he arrested the plaintiff on or abou': F:rabruary     4,


            2017.



      :3.   E:RlC PESINO is a citizen of Connecticut rruhose address is        '11
                                                                                     Union

            Avenue, New Haven. CT 06519 and who ir; employed as an officer by the

            New Haven Deparlrrnent,rf Police Services. Defendant wes acting under
         Case 3:18-cv-01062-CSH Document 1 Filed 06/22/18 Page 2 of 8




         color of state law wl'ren   hr::   arrested the plarntiff on or aboul Fr:bruary      ,4,


         2017.


   {.     MARK SAL'/ATl is    ra   citi;:en of Connecticut whose addres;r; is; 1 Union

         Avenue, New Haverr CT 06519 and who is employed as arr officer                     by,   the

         New Haven Departntent        r:rf   Police Services. Defendant wias ercting under

         color of state law when he arrested the plaintiff on or aboul Fr:bruary              ,4,


         2017.



   lt.   The CITY OF NEW t-lAV[:N is a municipality located in thr: state of

         Connecticut The citv defendant is responsible for plaintifs' injuries              url,Cer

         the doctrine of Monet|l v. l\'lew York Deparlrnent of Socialllervices, 43€i

         u.s. 658 (1978).


                                        JURISDICTION


Jurisdiction is asserted pursuanlto 42 U.S.C. section 1983 and              iU   3 tJ.S.C

sections 1331, 1343(a) (3) and 1367(a)
           Case 3:18-cv-01062-CSH Document 1 Filed 06/22/18 Page 3 of 8




NA-I-URE CIF THE CASE


l-his; is an action for money' damrages and cleclaratory relief to redr,ess the

deprivation of rights s€c;urcd to the plaintiff by the Eighth and Fourtr:enth

Ant,endments to the Uniteld Stat,:ls Constitutiofl ?Frd for assault. C)n or abrout

F:ebrruary    4,2017 the derfendants PESINO and SI\LVATI used excerssive force                    tcl


errrerst   the plaintiff NORI/lAN CLEMENT and caused the plaintiff physical artd

ermotional injuries. The defendants PESINO and SALVATI assarlled and

battered the plaintiff. Tlre rleferrdant BEAL,TON improperly deplc,lrt;fl pepper

spriay to the plaintiff's face and rnishandled his pclice dog in such manner as to

cause injury and fear. The plaint.iff suffered injuriers to his face, eyes and s;itoukJer

elxtreme emotional distress; as         ar   result of the actions of BEAUTO\1, PESINO and

SALVATI. The defendarnt CITY OF NEW l-lAVE]il maintained at;rll relevant

times a policy or practice c,f not investrgating police abuse complilints properly

ancl not tak,ing action to stclp officers from r:ommilling further acts ,cf abuse that

amounted       1lo   deliberate irrclifferernce to the rights of persons similirrly situated   tr:r


the plaintiff, and therefcre the CITY OF NE:W HA'/EN is liable to tl"re plaintitfs

uncler Monell v. New Y<>rk Dept;riment of Social llervices. 436 U              S 658 (1978 ).
      Case 3:18-cv-01062-CSH Document 1 Filed 06/22/18 Page 4 of 8




      FIRST CAUSE Of: ACTICN               -   CONS;TITIONAL RIGHTS V OLATIISN


l"he defendants BEAUTONI, PEtllNO and {}ALVATI violated the plaintiff's right             tc,


libedy and rlue process of law urrder the Fourteerrth Amendment          b the LJnibd

Stal,es Con:stitution , inflicterd crLrel and unusual punishment in violation of the

E:ighth Ame,ndment, ancl surbject,ed him to Lrnreasonable seizure cf lris perrson in

violation of the Fourth Amendmt,:nt. Specifically:



    1. Officers PESINO and SAI-VATI arrested the plaintiff on or abrout         Februarry

       4,2Ct17.



   |2. The defendants t']EtilNO and SALV,ATI usr:d excessive ancl wantr:n            forc;e

       to arrest the plaintiff specrifically; by foot su,eeping him force,fully to the

       ground.


   ,3. Deferndant BEAUI'CrN improperly derployecl pepper spray          ernrl mishandk.,:d

       his clog so as to cause injuries to the plainliff.



   ,4. The Plaintiff suffererJ pairr, physical injury and emotional trauma as a

       result of the actions of   th,:>   defendants BEAUTON. PESINO and        S;At-\r/A,Tl.
         Case 3:18-cv-01062-CSH Document 1 Filed 06/22/18 Page 5 of 8




   tt.   At all relevant times, it wars clearly er;tablished and Defend ants

         BEA1UTON, PESINO and SALVATI knew or should have krrown thrat it is                       ar



         violation of federal law to abuse an unresisting person in tl^e manner

         complained     rcf   above.




              SECOND CAUSE OF ACTION --ASSAULT AND BAT-I-E:RY


The defendants BEAUTCN, PE{$lNO and $ALVATI assaulted the plaintilT by

using excessive force upon him, causing serrious lthysical and ps1,6l"1ological

injuries to him. Specifically:



         1.   Ctfficers PESII\O and TSALVATI arrrested the plaintiff on or abor:t

              February 4, 2017     .




         2.   The defendants PE.SIl,lo and SALVATI used excessive iand wianton

              force to arrest the plairrtiff, specifically; 'fhey swept his      le,gys   from under

              him and pushr:d him nto the ground arrd used other e>c;essive fonce'


         3    Defendant BEALITON improperly'deployed pepper sprelv and

              mishandled his dog       SC,   ?S   to cause injuries to the plaintff.
Case 3:18-cv-01062-CSH Document 1 Filed 06/22/18 Page 6 of 8




4.   The Plaintiff suffered pain, physical injury and emotione I trauma            a:s   €l


     relsult of the actions o1'the defendants EIEAUTON. PESII\O and

     SALVATI



     A,t   all relelvant times, i'iwas clearlv established and Defr>ndants;

     BEAUTC)N, PESINO and SALVA,TI knew or should haver known that it

     is;   a violation of state and federal lawto abuse an unresisting person irt

     the manner cornplainc,fl 91above,.


     THIRD C;AUSE OF ACTION            -   MONELI- LIABILITY OF CITY OF I{EV\I

     FIAVEN



 1. Defendanrt CITY OF NIEW HAVEN,             had in place a policy or pretctic;e r:f

     fililing to inver;tigate police abuse complaints sufficiently and fililing          tr:r


     tilke effective action argainst officers after abuse complilints were
                                                                               'The
     substantiated, that proximately caused the Plaintiff's injurries.

     policy or practicer of tl're CITY OF NEW HAVEN of failurel to respond

     appropriately to r:omplaints of pclice abuse amounted tc' deliberate

     indifference to the rights of persons situated similarly to the Pliaintiff,

     l-he CIT'/ OF NE:W H,AVEN is lierble to plaintiff under       tul<>nell   v   Netw

     \/ork Department of SiocialServi:es, 436 U.S. 658 ('19,'13).
Case 3:18-cv-01062-CSH Document 1 Filed 06/22/18 Page 7 of 8




2,   At all relevant times, it was clearly established and deferr<Jant CIT'r oF:

     NEW HAVEN knr:w or should ha've known that it is a vioration of

     ferderal law for a nrunir:ipality to show deliberate indiffer,:nce to the,

     ri13hts   of persons situared similarly to tht: plaintiff by ma ntaininr;    a

     prclicy or practice of failing to inverstigater allegations of trrolice brulalit'y,

     and failing to disc;iplinc, sgp"ru se or train police officers; vyho have

     numerous brutality complaints which created an unreasorrable risk oI

     hiarm to individuals likr=r plaintiff.
           Case 3:18-cv-01062-CSH Document 1 Filed 06/22/18 Page 8 of 8




                                   REQUEST FOR RELIEF


The plaintiff requestS:

    1.         Com;censatory darmarges    r:rf   $1,500,000.

    2).. Punitive damages;.

    3,. Costr; and Attornely     F:ees.

   4.          Trial by jury



The Plaintif
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           l
6y__   '
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Flis Attorney'

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